                     Case 4:20-cv-04192-SBA Document 13 Filed 07/16/20 Page 1 of 3



 1   Matthew Taylor, 252556
     (323)405-2704
 2   Vaziri Law Group
 3
     5757 Wilshire Blvd, Suite 670
     Los Angeles, CA 90036
 4   Representing: Plaintiff                                            File No.

 5

 6

 7

 8                                       United States District Court, Northern District of California

 9
                                            Northern District of California - District - San Francisco
10

11

12   Daniel Valles
                                                              )              Case No. 3:20-cv-04192
13                                                            )
                          Plaintiff/Petitioner
                                                              )              Proof of Service of:
14                                                            )
                                 vs.                          )                    Complaint, Civil Case Cover Sheet, Summons
15                                                            )
                                                              )
16   Fort Mason, et al.                                       )
                                                              )
17                                                            )
                          Defendant/Respondent                )
18                                                            )
                                                                              Service on:
19                                                                               United States of America
20

21
                                                                                    Hearing Date:
22
                                                                                    Hearing Time:
23
                                                                                    Div/Dept:
24

25

26

27

28




                                                          PROOF OF SERVICE

     OL# 14835342
                              Case 4:20-cv-04192-SBA Document 13 Filed 07/16/20 Page 2 of 3
                                                                                                                                                  POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                             FOR COURT USE ONLY
     Matthew Taylor, 252556
     Vaziri Law Group
     5757 Wilshire Blvd, Suite 670
     Los Angeles, CA 90036
          TELEPHONE NO.: (323)405-2704
     ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF

United States District Court, Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102-3483
      PLAINTIFF/PETITIONER:              Daniel Valles                                                CASE NUMBER:



DEFENDANT/RESPONDENT:                    Fort Mason, et al.                                                            3:20-cv-04192
                                                                                                     Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS

 1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.         BY FAX
2. I served copies of: Complaint, Civil Case Cover Sheet, Summons




3. a. Party served:           United States of America

    b. Person Served:- Person Authorized to Accept Service of Process
4. Address where the party was served: 450 Golden Gate Avenue
                                       San Francisco, CA 94102
5. I served the party
    b. by substituted service. On (date): 07/02/2020              at (time): 10:57AM        I left the documents listed in item 2 with or
       in the presence of: John Doe Caucasian male 5’9 180lb brown hair - Person Authorized to Accept
         (1) (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
         person to be served. I informed him or her of the general nature of the papers.
         (4) A declaration of mailing is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:
   d. on behalf of:
    United States of America

   under:       CCP 416.50 (public entity)
7. Person who served papers
   a. Name:          Priscila Carmona
   b. Address:       One Legal - P-000618-Sonoma
                            1400 North McDowell Blvd, Ste 300
                            Petaluma, CA 94954
    c. Telephone number: 415-491-0606
    d. The fee for service was: $ 106.75
    e. I am:
          (3) registered California process server.
                (i) Employee or independent contractor.
                (ii) Registration No. 521
                (iii) County San Mateo
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     07/02/2020
                          Priscila Carmona
                   (NAME OF PERSON WHO SERVED PAPERS)                                                         (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev.
         [Rev. July 1, 2007]
               Jan 1,  2004]                             PROOF OF SERVICE OF SUMMONS
                                                                                                                        OL# 14835342
                                          Case 4:20-cv-04192-SBA Document 13 Filed
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address):
                                                                                    07/16/20 Page 3 of
                                                                                 TELEPHONE NO.:
                                                                                                       3
                                                                                                    FOR COURT USE ONLY
 Matthew Taylor, 252556                                                                        (323)405-2704
 Vaziri Law Group
 5757 Wilshire Blvd
 Los Angeles, CA 90036                                                      Ref. No. or File No.

ATTORNEY FOR (Name):           Plaintiff
Insert name of court, judicial district or branch court, if any:

 Northern District of California - District - San Francisco
 450 Golden Gate Avenue
 San Francisco, CA 94102-3483
PLAINTIFF:

 Daniel Valles
DEFENDANT:

 Fort Mason, et al.
                                                                                                                  CASE NUMBER:

 PROOF OF SERVICE BY MAIL                                                                                                   3:20-cv-04192

                                                                                                                          BY FAX
I am a citizen of the United States, over the age of 18 and not a party to the within action. My business address is 1400 N. McDowell Blvd,
Petaluma, CA 94954.

On 07/02/2020, after substituted service under section CCP 415.20(a) or 415.20(b) or FRCP 4(e)(2)(B) or FRCP 4(h)(1)(B) was made (if
applicable), I mailed copies of the:

 Complaint, Civil Case Cover Sheet, Summons




to the person to be served at the place where the copies were left by placing a true copy thereof enclosed in a sealed envelope, with First
Class postage thereon fully prepaid, in the United States Mail at Petaluma, California, addressed as follows:


 United States of America




 450 Golden Gate Avenue
  San Francisco, CA 94102

I am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it would
be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid, in the ordinary
course of business. I am aware that on motion of the party served, service is presumed invalid if postal cancellation date or
postage meter date is more than one (1) day after date of deposit for mailing in affidavit.




Fee for Service: $ 106.75

                                                                      I declare under penalty of perjury under the laws of the United States of
                                                                      America and the State of California that the foregoing is true and correct and
                                                                      that this declaration was executed on 07/02/2020 at Petaluma, California.
One Legal - P-000618-Sonoma
1400 North McDowell Blvd, Ste 300
Petaluma, CA 94954
                                                                                                               Eloi Garcia
                                                                                                                           OL# 14835342
